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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                         )    CASE NO. 1:06CR094-02
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )    Judge Peter C. Economus
                                                  )
MELVIN C. KING,                                   )
                                                  )    ORDER
       Defendant.                                 )    (Adopting Docket No. 34)


       On March 1, 2006, Melvin C. King, defendant, was indicted on one count of conspiracy

to distribute and possess with the intent to distribute at least five kilograms of a mixture or

substance containing a detectable amount of cocaine base, in violation of 21 U.S.C. §§ 841 and

846 (Count 1); and one count of knowingly and intentionally distributing fifty grams of a

mixture or substance containing a detectable amount of cocaine base, in violation of 21 U.S.C. §

841 (Count 2). (Docket No. 8.) The Defendant pled “not guilty”.

       On September 12 2006, this matter was referred to a United States Magistrate Judge

pursuant to General Order 99-49, and with the consent of the parties, for the purpose of

accepting the Defendant’s change of plea to guilty as to Count 1. At a hearing held on

September 14, 2006, the Defendant, accompanied by counsel, proffered a plea of guilty as to
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Count 1.

        The Magistrate Judge issued a Report and Recommendation documenting the

Defendant’s plea. (Docket No. 34.) The Report indicates that the Defendant was advised of his

rights, and that the hearing otherwise complied with all requirements imposed by the United

States Constitution and Federal Criminal Procedure Rule 11. Finding that the plea was made

knowingly, intelligently, and voluntarily, the Magistrate recommends that this Court accept and

enter the Defendant’s plea of guilty as to Count 1 of the Indictment.

       Pursuant to General order 99-49, and absent any objections by the parties, the Court

accepts and adopts the Report and Recommendation of the Magistrate Judge. In doing so, the

Court finds that the Defendant knowingly, intelligently, and voluntarily entered a plea of guilty

as to Count 1 of the Indictment, and that all of the requirements imposed by the United States

Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the Court finds that the

Defendant committed the offense charged in Count 1, and hereby accepts and enters the

Defendant’s plea of guilty.

       IT IS SO ORDERED.




Date: October 25, 2006                       /s/ Peter C. Economus
                                             UNITED STATES DISTRICT JUDGE




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